AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
   UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                        )   (For Revocation of Probation or Supervised Release)
               V.                                                       )   (For Offenses Committed On or After November 1, 1987)

                                                                        )
   CALVIN LAFAYETTE DUBOYD                                              )   Case Number: DNCW100CR00009-005
                                                                        )   USM Number: 15777-058
                                                                        )
                                                                        )   Renae Alt-Summers
                                                                        )   Defendant’s Attorneys


THE DEFENDANT:
☒ Admitted guilt to violation of condition(s) 1 & 2 of the term of supervision.
☐ Was found in violation of condition(s) count(s) ___ after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation                                                                                            Date Violation
Number                   Nature of Violation                                                          Concluded
     1                  DRUG/ALCOHOL USE                                                                7/10/2013
     2                  FAILURE TO MAKE REQUIRED COURT PAYMENTS                                         7/18/2013


       The Defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) ___ and is discharged as such to such violation(s) condition.
☐      Violation(s) ___ (is)(are) dismissed on the motion of the United States.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 9/10/2013




                                                                                  Date: September 17, 2013




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Defendant: Calvin Lafayette Duboyd                                                                        Judgment- Page 2 of 2
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                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
THIRTY-SIX (36) DAYS. THE DEFENDANT IS TO BE RELEASED TO THE CUSTODY OF HIS STATE PROBATION
OFFICER ON 9/25/2013 TO BE DELIVERED TO INPATIENT SUBSTANCE ABUSE TREATMENT ARRANGED BY HIS
STATE PROBATION OFFICER. IT IS THE REQUEST OF THE COURT THAT THE U.S. MARSHALS SERVICE NOT
REMOVE THE DEFENDANT FROM THE DISTRICT PRIOR TO THAT DATE.

☐ The Court makes the following recommendations to the Bureau of Prisons:

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At am/pm on         .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ As notified by the United States Marshal.
            ☐ Before 2 p.m. on       .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                  By:
                                                                                        Deputy Marshal




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